                   Case 1-22-41041-nhl                    Doc 74          Filed 11/29/23              Entered 11/30/23 00:11:23


                                                              United States Bankruptcy Court
                                                               Eastern District of New York
In re:                                                                                                                 Case No. 22-41041-nhl
Levi Balkany                                                                                                           Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0207-1                                                  User: admin                                                                 Page 1 of 5
Date Rcvd: Nov 27, 2023                                               Form ID: 318DI7                                                           Total Noticed: 98
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 29, 2023:
Recip ID                   Recipient Name and Address
db                     +   Levi Balkany, 884 Eastern Parkway, Brooklyn, NY 11213-3618
aty                    +   Law Offices of Avrum J. Rosen, PLLC, 38 New street, Huntington, NY 11743-3463
10101750               +   1KB & MS LLC, A/K/A KINGSTON BLOCK & MASONRY, 1 KEIFFER LANE, KINGSTON, NEW YORK 12401-2210
10101792               +   235 9TH STREET LLC, 488 7TH STREET, BROOKLYN, NEW YORK 11215-3613
10072155               +   293 ADELPHI MZL LLC, C/O MAYER ZARCHI, 446 CROWN STREET, BROOKLYN, NY 11225-3120
10072156               +   300 WEST 122ND STREET 1, LLC, C/O MADISON REALTY CAPITAL, 520 Madison Avenue, Suite 3501, NEW YORK, NY
                           10022-4434
10072157               +   300 WEST 122ND STREET 2, LLC, C/O MADISON REALTY CAPITAL, 520 Madison Avenue, Suite 3501, NEW YORK, NY
                           10022-4434
10088299               +   300 West 122nd Street 1 LLC, c/o Kriss & Feuerstein LLP, 360 Lexington Avenue, Suite 1200, New York, New York 10017-6502
10088300               +   300 West 122nd Street 2 LLC, c/ Kriss & Feuerstein LLP, 360 Lexington Avenue, Suite 1200, New York, NY 10017-6502
10072158               +   441 W 37 CAPITAL LLC, 200 PARK AVENUE, NEW YORK, NY 10166-0005
10072159               +   441 W 37 SME LLC, C/O SME Capital Ventures, 200 PARK AVENUE, NEW YORK, NY 10166-0005
10072160               +   525 SMA OWNER LLC, C/O MARANS NEWMAN TSOLIS & NAZINITSKY LL, ATT: RICHARD M. NEWMAN, ESQ., 29
                           BROADWAY, SUITE 2400, NEW YORK, NY 10006-3205
10075528               +   529 MAPLE LLC, 410 TROY AVENUE, BROOKLYN, NY 11213-5328
10101799               +   834 PACIFIC HOLDINGS LLC, 884 EASTERN PARKWAY, BROOKLYN, NEW YORK 11213-3618
10101803               +   834 PACIFIC HOLDINGS LLC, 1465A FLATBUSH AVENUE, BROOKLYN, NEW YORK 11210-2428
10101796               +   9TH ST DEV LLC, 884 EASTERN PARKWAY, BROOKLYN, NEW YORK 11213-3618
10101747               +   AHERN RENTALS, INC., C/O MARK A. KIRKORSKY, P.C., 8020 W. SAHARA AVE. STE 225, LAS VEGAS, NV 89117-7913
10075529              #+   AYLIE ARIES CORP., 851 NE 1ST AVENUE SUITE 4701, MIAMI FL 33132-1861
10072161               +   BESPOKE HARLEM WEST LLC, C/O MARANS NEWMAN TSOLIS & NAZINITSKY LL, ATT: RICHARD M. NEWMAN, ESQ., 29
                           BROADWAY, SUITE 2400, NEW YORK, NY 10006-3205
10072162               +   BHW BROWNFIELD LLC, C/O MARANS NEWMAN TSOLIS & NAZINITSKY LL, ATT: RICHARD M. NEWMAN, ESQ., 29
                           BROADWAY, SUITE 2400, NEW YORK, NY 10006-3205
10072163               +   BHW MEZZ LLC, C/O MARANS NEWMAN TSOLIS & NAZINITSKY LL, ATT: RICHARD M. NEWMAN, ESQ., 29 BROADWAY,
                           SUITE 2400, NEW YORK, NY 10006-3205
10075531               +   BLUE VINE, 401 WARREN STREET SUITE 430, REDMOND CA 94063-1536
10101749               +   CAPITAL CONCRETE NY INC., 199 LEE AVENUE, SUITE 421, BROOKLYN, NEW YORK 11211-8036
10075538               +   CHANA RUBASHKIN, 1328 LINCOLN PLACE, BROOKLYN, NY 11213-4033
10072165               +   COFUND 3, LLC, 345 SEVENTH AVE. 23RD FL., NEW YORK, NY 10001-5031
10101808               +   CRAIG STUART LANZA, ESQ., 26 COURT STREET, SUITE 1200, BROOKLYN, NEW YORK 11242-1112
10072168              #+   D SOLNICK DESIGN & DEVELOPMENT LLC, C/O DAVID SOLNICK, 350 W. 42 STREET APT. 31C, NEW YORK, NY
                           10036-6958
10072183              #+   DAVID SOLNICK, 350 W. 42 STREET APT. 31C, NEW YORK, NY 10036-6958
10072167              #+   DS37 MEZZ LLC, C/O DAVID SOLNICK, 350 W. 42 STREET APT. 31C, NEW YORK, NY 10036-6958
10101794               +   EAGLE DEVELOPMENT HOLDINGS LLC, 884 EASTERN PARKWAY, BROOKLYN, NY 11213-3618
10072169               +   EE37 MEZZ LLC, C/O MARANS NEWMAN TSOLIS & NAZINITSKY LL, ATT: RICHARD M. NEWMAN, ESQ., 29 BROADWAY,
                           SUITE 2400, NEW YORK, NY 10006-3205
10072170               +   EM CRE STRATEGIES I, LLC SERIES X, C/O EQUITY MULTIPLE, INC., 1440 BROADWAY, 11TH FLOOR, NEW YORK, NY
                           10018-2301
10072171               +   ENHANCED TAX CREDIT LENDING LLC, 201 ST CHARLES AVE. SUITE 3400, NEW ORLEANS, LOUISANA 70170-1026
                   Case 1-22-41041-nhl                    Doc 74          Filed 11/29/23              Entered 11/30/23 00:11:23


District/off: 0207-1                                                  User: admin                                                                Page 2 of 5
Date Rcvd: Nov 27, 2023                                               Form ID: 318DI7                                                          Total Noticed: 98
10101793               +   ESAGOFF LAW GROUP, P.C., 917 NORTHERN BOULEVARD, GREAT NECK, NEW YORK 11021-5304
10120383               +   Engineered Devices Corporation, 25 Bergen Turnpike, Ridgefield, NJ 07660-2309
10075534               +   FM HOME LOANS LLC, 2329 NOSTRAND AVENUE 3RD FL., BROOKLYN, NY 11210-3949
10072990               +   Flagstar Bank, c/o MCCALLA RAYMER LEIBERT PIERCE, LLC, 420 Lexington Avenue, Suite 840, New York, NY 10170-0840
10101797               +   GALIL PS 488 LLC, 1465A FLATBUSH AVE, BROOKLYN, NY 11210-2428
10075539               +   GETZEL RUBASHKIN, 1328 LINCOLN PLACE, BROOKLYN, NY 11213-4033
10101751                   GUTMAN WEISS, P.C., 2276 SIXTY-FIFTH STREET, BROOKLYN, NEW YORK 11204
10072173               +   HAGASHAMA MANHATTAN 12 PARKSIDE LLC, 345 SEVENTH AVE. 23RD FL., NEW YORK, NY 10001-5031
10101807               +   HANNUM FERETIC PRENDERGAST, & MERLINO, LLC, 55 BROADWAY, SUITE 202, NEW YORK, NEW YORK 10006-3714
10101801               +   HAPPY LIVING CONSTRUCTION LLC, 884 EASTERN PARKWAY, BROOKLYN, NEW YORK 11213-3618
10101795               +   HAPPY LIVING DEVELOPMENT LLC, 884 EASTERN PARKWAY, BROOKLYN, NEW YORK 11213-3618
10075535               +   HAPPY LIVING DEVELOPMENT LLC, 884 EASTERN PARKWAY, BROOKLYN, NY 11213-3618
10101802               +   HAPPY LIVING W37TH LLC, 441 WEST 37TH STREET, NEW YORK, NEW YORK 10018-4270
10072174               +   HARLEM 133 LENDER, LLC, 405 LEXINGTON AVENUE 59TH FL,, NEW YORK, NY 10174-6300
10101809               +   HOWARD BLUM, P.C., 767 THIRD AVENUE, 24TH FLOOR, NEW YORK, NEW YORK 10017-9005
10084370               +   Hagshama Manhattan 12 Parkside LLC, c/o Bruce H. Lederman, Esq., 9 East 49th Street, 5th Floor, New York, NY 10017
10139858               +   Harlem 133 Owner, LLC, Joseph J. Tuso, Esq., Reed Smith LLP, 599 Lexington Avenue, New York, NY 10022-7684
10075038               +   Harlem 133 Owner, LLC, Attn: Christopher A. Lynch, Reed Smith LLP, 599 Lexington Avenue, New York, New York 10022-7684
10072175               +   III CRE BRIDGE LOAN FUND L.P., 777 YAMATO ROAD, SUITE 300, BOCA RATON, FL 33431-4406
10072172               +   JEROLD C. FEUERSTEIN, ESQ., KRISS & FEUERSTEIN LLP, 360 LEXINGTON AVENUE, SUITE 1200, NEW YORK, NY
                           10017-6555
10072176               +   JONES DAY, ATT: TITO ESCOBAR, ESQ., 250 VESEY STREET, NEW YORK, NEW YORK 10281-1062
10101810               +   JUSTIN H. SCHEIER, ESQ., 500 POST ROAD EAST SUITE 263, WESTPORT, CONNECTICUT 06880-4431
10101752               +   LOUIE SELAMAJ, c/o MARC M. COUPEY LAW PLLC, 441 SAW MILL RIVER ROAD, MILLWOOD, NEW YORK 10546-1018
10112619               +   Louis Selamaj, Marc M Coupey PLLC, 441 Saw Mill River Road, Millwood, NY 10546-1018
10072180               +   MARANS NEWMAN TSOLIS & NAZINITSKY LLC, ATT: RICHARD M. NEWMAN, ESQ., 29 BROADWAY, SUITE 2400, NEW
                           YORK, NY 10006-3205
10072186               +   MAYER ZARCHI, 446 CROWN STREET, BROOKLYN, NY 11225-3120
10075536               +   MCCALLA RAYMER LEIBERT PIERCE, LLC, ATT: PHILLIP RAYMOND, ESQ., 420 LEXINGTON AVE, RM 840, NEW YORK,
                           NY 10170-0840
10101806               +   MEIR ZARCHI, 446 CROWN STREET, BROOKLYN, NEW YORK 11225-3120
10072179               +   MEISTER SEELIG & FEIN LLP, ATT: DAVID G. MOSS, ESQ., 125 PARK AVENUE 7TH FL., NEW YORK, NY 10017-5627
10075541               +   MYRA SELAMAJ, C/O MARC COUPEY, ESQ., 441 SAW MILL RIVER ROAD, MILLWOOD NY 10546-1018
10084747               +   Myra Selamaj, C/O Marc M. Coupey Law, PLLC, 441 Saw Mill River Road, Millwood, NY 10546-1018
10075532               +   OLIVIER STEVEN COJOT, 61 BRYAM SHORE ROAD, GREENWICH, CT 06830-6906
10072181               +   PROSKAUER ROSE, LLP, ATT: PETER J.W. SHERWIN, ESQ., 11 TIMES SQUARE, NEW YORK, NY 10036-6600
10101798               +   PS 488 GROUP LLC, 884 EASTERN PARKWAY, BROOKLYN, NEW YORK 11213-3618
10072178               +   RACHEL MEDALIE, 1286 PRESIDENT STREET, BROOKLYN, NY 11213-4238
10101892               +   REED SMITH LLP, ATT: CASEY D. LAFFEY, ESQ., 599 LEXINGTON AVENUE, NEW YORK, NY 10022-6030
10072182               +   REED SMITHLLP, ATT: CASEY D. LAFFEY, ESQ., 599 LEXINGTON AVENUE, NEW YORK, NY 10022-6030
10075537               +   REUVEN MEDALIE, 1286 PRESIDENT STREET, BROOKLYN, NY 11213-4238
10101805               +   RITE SURGICAL SUPPLIES, INC., 766 ROCKAWAY PARKWAY, BROOKLYN, NEW YORK 11236-1830
10075530               +   ROBERT BARTKOWSKI, C/O GUERRIERA, FELDMAN & WILLIAMS, LLP, 363 6TH AVENUE, BROOKLYN, NY 11215-3406
10072177               +   ROY JUSTICE, ESQ., 600 THIRD AVENUE, 2ND FLOOR, NEW YORK, NY 10016-1919
10101804               +   RSC GROUP LLC, 389 WILLOUGHBY AVENUE, SUITE 301, BROOKLYN, NEW YORK 11205-5084
10086481                   Robert Bartkowski, c/o Meyer Suozzi English & Klein, PC, 990 Stewart Ave., Ste.300 PO Box 9194, Garden City, NY 11530, Attn: Jordan
                           Weiss, Esq.
10098028               +   Robert Bartkowski, c/o Jordan Weiss, Esq., Meyer Suozzi English & Klein, P.C., 990 Stewart Ave., Ste. 300, Garden City, NY 11530-9882
10075540               +   SANTANDER BANK, C/O STEIN, WIENER & ROTH, L.L.P., 1400 OLD COUNTRY ROAD - SUITE 315, WESTBURY, NY
                           11590-5132
10074191               +   Santander Bank, N.A., c/o Stein, Wiener & Roth, LLP, 1400 Old Country Road, Suite 315, Westbury, NY 11590-5132
10120382               +   Steven Taitz, 630 Johnson Ave, Suite 105, Bohemia, NY 11716-2618
10072184               +   TITAN CAPITAL ID, LLC, 140 EAST 45TH STREET, 40TH FLOOR, NEW YORK, NY 10017-3144
10101895               +   TRUSTEE, DEBRA KRAMER, DEBRA KRAMER, PLLC, 10 PANTIGO ROAD SUITE 1, EAST HAMPTON, NY 11937-2639
10072185               +   WEST 37TH STREET LLC, C/O MARANS NEWMAN TSOLIS & NAZINITSKY LL, ATT: RICHARD M. NEWMAN, ESQ., 29
                           BROADWAY, SUITE 2400, NEW YORK, NY 10006-3205
10101800               +   WESTCHESTER FIRE INSURANCE COMPANY, 436 WALNUT STREET, PHILADELPHIA, PA 19106-3703
10101754               +   WONG FLEMING, 300 EAST 42ND STREET, 14TH FLOOR, NEW YORK, NEW YORK 10017-5984
10075543               +   YEHUDA AND CHAYA ZALTZMAN, 126 SPOOK ROCK ROAD, SUFFERN, NY 10901-3009

TOTAL: 86

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
                  Case 1-22-41041-nhl                  Doc 74         Filed 11/29/23            Entered 11/30/23 00:11:23


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Date Rcvd: Nov 27, 2023                                             Form ID: 318DI7                                                     Total Noticed: 98
Recip ID                Notice Type: Email Address                                 Date/Time                Recipient Name and Address
smg                   + Email/Text: DOFBankruptcy@finance.nyc.gov
                                                                                   Nov 27 2023 18:19:00     NYC Department of Finance, 345 Adams Street,
                                                                                                            Office of Legal Affairs, Brooklyn, NY 11201-3775
smg                   + Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                   Nov 27 2023 18:19:00     NYS Department of Taxation & Finance,
                                                                                                            Bankruptcy Unit, PO Box 5300, Albany, NY
                                                                                                            12205-0300
smg                   + Email/Text: labor.sm.ui.bankruptcy@labor.ny.gov
                                                                                   Nov 27 2023 18:19:00     NYS Unemployment Insurance, Attn: Insolvency
                                                                                                            Unit, Bldg. #12, Room 256, Albany, NY
                                                                                                            12240-0001
smg                   + Email/Text: ustpregion02.br.ecf@usdoj.gov
                                                                                   Nov 27 2023 18:19:00     Office of the United States Trustee, Eastern
                                                                                                            District of NY (Brooklyn), Alexander Hamilton
                                                                                                            Custom House, One Bowling Green, Room 510,
                                                                                                            New York, NY 10004-1415
10101746              + Email/Text: bwalters@albrightstoddard.com
                                                                                   Nov 27 2023 18:19:00     ALBRIGHT, STODDARD,WARNICK &
                                                                                                            ALBRIGHT, QUAIL PARK 1, STE D4, 801 S.
                                                                                                            RANCHO DRIVE, LAS VEGAS, NV 89106-3854
10101748                 EDI: WFFC
                                                                                   Nov 27 2023 23:18:00     BANK OF AMERICA, PO BOX 660441,
                                                                                                            DALLAS, TX 75266-0441
10075533              ^ MEBN
                                                                                   Nov 27 2023 18:15:12     FLAGSTAR BANK, PO BOX 660263, DALLAS,
                                                                                                            TX 75266-0263
10072164                 EDI: JPMORGANCHASE
                                                                                   Nov 27 2023 23:18:00     CHASE MASTERCARD, P.O. BOX 15298,
                                                                                                            WILMINGTON, DE 19850
10123498              + Email/Text: RASEBN@raslg.com
                                                                                   Nov 27 2023 18:19:00     JPMorgan Chase Bank, N.A., s/b/m/t Chase Bank
                                                                                                            USA, N.A., c/o Robertson, Anschutz, Schneid,,
                                                                                                            Crane & Partners, PLLC, 6409 Congress Avenue,
                                                                                                            Suite 100, Boca Raton, FL 33487-2853
10101753              + Email/Text: key_bankruptcy_ebnc@keybank.com
                                                                                   Nov 27 2023 18:19:00     KEYBANK NATIONAL ASSOCIATION, 127
                                                                                                            PUBLIC SQUARE, CLEVELAND, OHIO
                                                                                                            44114-1217
10101896              + Email/Text: ustpregion02.br.ecf@usdoj.gov
                                                                                   Nov 27 2023 18:19:00     OFFICE OF THE UNITED STATES TRUSTEE,
                                                                                                            U.S. FEDERAL OFFICE BUILDING, 201
                                                                                                            VARICK STREET, SUITE 1006, NEW YORK,
                                                                                                            NY 10014-4811
10075542              + EDI: SYNC
                                                                                   Nov 27 2023 23:18:00     SYNCHRONY BANK, 200 CROSSING BLVD
                                                                                                            STE 101, BRIDGEWATER, NJ 08807-2876

TOTAL: 12


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
10112516                      Louie Selamaj
10101868        *+            293 ADELPHI MZL LLC, C/O MAYER ZARCHI, 446 CROWN STREET, BROOKLYN, NY 11225-3120
10101827        *+            300 WEST 122ND STREET 1, LLC, C/O MADISON REALTY CAPITAL, 520 MADISON AVENUE, SUITE 3501, NEW
                              YORK, NY 10022-4434
10101828        *+            300 WEST 122ND STREET 2, LLC, C/O MADISON REALTY CAPITAL, 520 MADISON AVENUE, SUITE 3501, NEW
                              YORK, NY 10022-4434
10101869        *+            441 W 37 CAPITAL LLC, 200 PARK AVENUE, NEW YORK, NY 10166-0005
10101866        *+            441 W 37 SME LLC, C/O SME CAPITAL VENTURES, 200 PARK AVENUE, NEW YORK, NY 10166-0005
10101870        *+            525 SMA OWNER LLC, C/O MARANS NEWMAN TSOLIS & NAZINITSKY LL, ATT: RICHARD M. NEWMAN, ESQ., 29
                              BROADWAY, SUITE 2400, NEW YORK, NY 10006-3205
10101811        *+            529 MAPLE LLC, 410 TROY AVENUE, BROOKLYN, NY 11213-5328
10101812        *+            AYLIE ARIES CORP., 851 NE 1ST AVENUE SUITE 4701, MIAMI FL 33132-1861
10101871        *+            BESPOKE HARLEM WEST LLC, C/O MARANS NEWMAN TSOLIS & NAZINITSKY LL, ATT: RICHARD M. NEWMAN,
                              ESQ., 29 BROADWAY, SUITE 2400, NEW YORK, NY 10006-3205
10101872        *+            BHW BROWNFIELD LLC, C/O MARANS NEWMAN TSOLIS & NAZINITSKY LL, ATT: RICHARD M. NEWMAN, ESQ.,
                              29 BROADWAY, SUITE 2400, NEW YORK, NY 10006-3205
10101873        *+            BHW MEZZ LLC, C/O MARANS NEWMAN TSOLIS & NAZINITSKY LL, ATT: RICHARD M. NEWMAN, ESQ., 29
                              BROADWAY, SUITE 2400, NEW YORK, NY 10006-3205
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District/off: 0207-1                                               User: admin                                       Page 4 of 5
Date Rcvd: Nov 27, 2023                                            Form ID: 318DI7                                 Total Noticed: 98
10101814        *+               BLUE VINE, 401 WARREN STREET SUITE 430, REDMOND CA 94063-1536
10101821        *+               CHANA RUBASHKIN, 1328 LINCOLN PLACE, BROOKLYN, NY 11213-4033
10101875        *+               COFUND 3, LLC, 345 SEVENTH AVE. 23RD FL., NEW YORK, NY 10001-5031
10101878        *+               D SOLNICK DESIGN & DEVELOPMENT LLC, C/O DAVID SOLNICK, 350 W. 42 STREET APT. 31C, NEW YORK, NY
                                 10036-6958
10101893        *+               DAVID SOLNICK, 350 W. 42 STREET APT. 31C, NEW YORK, NY 10036-6958
10101876        *+               DL PARTNERS, ATT: BRUCE H. LEDERMAN, ESQ., 345 SEVENTH AVE. 23RD FL., NEW YORK, NY 10001-5031
10101877        *+               DS37 MEZZ LLC, C/O DAVID SOLNICK, 350 W. 42 STREET APT. 31C, NEW YORK, NY 10036-6958
10139409        *+               David Solnick, 350 W 42 St Apt 31C, New York, NY 10036-6958
10101879        *+               EE37 MEZZ LLC, C/O MARANS NEWMAN TSOLIS & NAZINITSKY LL, ATT: RICHARD M. NEWMAN, ESQ., 29
                                 BROADWAY, SUITE 2400, NEW YORK, NY 10006-3205
10101880        *+               EM CRE STRATEGIES I, LLC SERIES X, C/O EQUITY MULTIPLE, INC., 1440 BROADWAY, 11TH FLOOR, NEW YORK,
                                 NY 10018-2301
10101881        *+               ENHANCED TAX CREDIT LENDING LLC, 201 ST CHARLES AVE. SUITE 3400, NEW ORLEANS, LOUISANA
                                 70170-1026
10101816        *+               FLAGSTAR BANK, PO BOX 660263, DALLAS, TX 75266-0263
10101817        *+               FM HOME LOANS LLC, 2329 NOSTRAND AVENUE 3RD FL., BROOKLYN, NY 11210-3949
10101822        *+               GETZEL RUBASHKIN, 1328 LINCOLN PLACE, BROOKLYN, NY 11213-4033
10101883        *+               HAGASHAMA MANHATTAN 12 PARKSIDE LLC, 345 SEVENTH AVE. 23RD FL., NEW YORK, NY 10001-5031
10101818        *+               HAPPY LIVING DEVELOPMENT LLC, 884 EASTERN PARKWAY, BROOKLYN, NY 11213-3618
10101884        *+               HARLEM 133 LENDER, LLC, 405 LEXINGTON AVENUE 59TH FL,, NEW YORK, NY 10174-6300
10101885        *+               III CRE BRIDGE LOAN FUND L.P., 777 YAMATO ROAD, SUITE 300, BOCA RATON, FL 33431-4406
10101882        *+               JEROLD C. FEUERSTEIN, ESQ., KRISS & FEUERSTEIN LLP, 360 LEXINGTON AVENUE, SUITE 1200, NEW YORK, NY
                                 10017-6555
10101886        *+               JONES DAY, ATT: TITO ESCOBAR, ESQ., 250 VESEY STREET, NEW YORK, NEW YORK 10281-1062
10101874        *P++             JPMORGAN CHASE BANK N A, BANKRUPTCY MAIL INTAKE TEAM, 700 KANSAS LANE FLOOR 01, MONROE LA
                                 71203-4774, address filed with court:, CHASE MASTERCARD, P.O. BOX 15298, WILMINGTON, DE 19850
10101890        *+               MARANS NEWMAN TSOLIS & NAZINITSKY LLC, ATT: RICHARD M. NEWMAN, ESQ., 29 BROADWAY, SUITE 2400,
                                 NEW YORK, NY 10006-3205
10101819        *+               MCCALLA RAYMER LEIBERT PIERCE, LLC, ATT: PHILLIP RAYMOND, ESQ., 420 LEXINGTON AVE, RM 840, NEW
                                 YORK, NY 10170-0840
10101889        *+               MEISTER SEELIG & FEIN LLP, ATT: DAVID G. MOSS, ESQ., 125 PARK AVENUE 7TH FL., NEW YORK, NY
                                 10017-5627
10101824        *+               MYRA SELAMAJ, C/O MARC COUPEY, ESQ., 441 SAW MILL RIVER ROAD, MILLWOOD NY 10546-1018
10101815        *+               OLIVIER STEVEN COJOT, 61 BRYAM SHORE ROAD, GREENWICH, CT 06830-6906
10101891        *+               PROSKAUER ROSE, LLP, ATT: PETER J.W. SHERWIN, ESQ., 11 TIMES SQUARE, NEW YORK, NY 10036-6600
10101888        *+               RACHEL MEDALIE, 1286 PRESIDENT STREET, BROOKLYN, NY 11213-4238
10101820        *+               REUVEN MEDALIE, 1286 PRESIDENT STREET, BROOKLYN, NY 11213-4238
10101813        *+               ROBERT BARTKOWSKI, C/O GUERRIERA, FELDMAN & WILLIAMS, LLP, 363 6TH AVENUE, BROOKLYN, NY
                                 11215-3406
10101887        *+               ROY JUSTICE, ESQ., 600 THIRD AVENUE, 2ND FLOOR, NEW YORK, NY 10016-1919
10101823        *+               SANTANDER BANK C/O, STEIN, WIENER & ROTH, L.L.P., 1400 OLD COUNTRY ROAD - SUITE 315, WESTBURY, NY
                                 11590-5132
10101825        *+               SYNCHRONY BANK, 200 CROSSING BLVD STE 101, BRIDGEWATER, NJ 08807-2876
10101867        *+               TITAN CAPITAL ID, LLC, 140 EAST 45TH STREET, 40TH FLOOR, NEW YORK, NY 10017-3144
10101894        *+               WEST 37TH STREET LLC, C/O MARANS NEWMAN TSOLIS & NAZINITSKY LL, ATT: RICHARD M. NEWMAN, ESQ.,
                                 29 BROADWAY, SUITE 2400, NEW YORK, NY 10006-3205
10101826        *+               YEHUDA AND CHAYA ZALTZMAN, 126 SPOOK ROCK ROAD, SUFFERN, NY 10901-3009
10072166        ##+              DL PARTNERS, ATT: BRUCE H. LEDERMAN, ESQ., 345 SEVENTH AVE. 23RD FL., NEW YORK, NY 10001-5031

TOTAL: 1 Undeliverable, 47 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 29, 2023                                        Signature:          /s/Gustava Winters
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Date Rcvd: Nov 27, 2023                                               Form ID: 318DI7                                                 Total Noticed: 98



                                      CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 27, 2023 at the address(es) listed
below:
Name                                  Email Address
Avery Issac Nagy-Normyle
                                      on behalf of Creditor Harlem 133 Owner LLC anormyle@reedsmith.com

Avrum J Rosen
                                      on behalf of Trustee Debra Kramer arosen@ajrlawny.com
                                      atsionis@ajrlawny.com;npizzo@ajrlawny.com;emeade-bramble@ajrlawny.com;ddobbin@ajrlawny.com

Bruce Weiner
                                      on behalf of Debtor Levi Balkany courts@nybankruptcy.net bweiner@nybankruptcy.net

Christopher A Lynch
                                      on behalf of Creditor Harlem 133 Owner LLC chrislynch65@gmail.com,
                                      btorres@reedsmith.com,chris-lynch-7800@ecf.pacerpro.com

Debra Kramer
                                      dkramer@kramerpllc.com;trustee@kramerpllc.com ny73@ecfcbis.com

Edward A Wiener
                                      on behalf of Creditor Santander Bank N.A. EWiener@hhstein.com,
                                      jbrocks@hhstein.com;sbrooks@hhstein.com;kmigdal@hhstein.com;rsagese@hhstein.com;jschlander@hhstein.com;bk@hhstein.c
                                      om

Edward J LoBello
                                      on behalf of Creditor Robert Bartkowski elobello@msek.com elobello@bsk.com;kdoner@bsk.com;CourtMail@bsk.com

Jerold C Feuerstein
                                      on behalf of Creditor 300 West 122nd Street 1 LLC jfeuerstein@kandfllp.com
                                      litigation@kandfllp.com;cvalenzuela@kandfllp.com;skossar@kandfllp.com;dzinman@kandfllp.com;gfriedman@kandfllp.com;m
                                      bonneville@kandfllp.com

Jerold C Feuerstein
                                      on behalf of Creditor 300 West 122nd Street 2 LLC jfeuerstein@kandfllp.com
                                      litigation@kandfllp.com;cvalenzuela@kandfllp.com;skossar@kandfllp.com;dzinman@kandfllp.com;gfriedman@kandfllp.com;m
                                      bonneville@kandfllp.com

Joseph J Tuso
                                      on behalf of Creditor Harlem 133 Owner LLC jtuso@reedsmith.com

Marc M Coupey
                                      on behalf of Creditor Myra Selamaj mmcoupeylaw@verizon.net

Marc M Coupey
                                      on behalf of Creditor Louie Selamaj mmcoupeylaw@verizon.net

Office of the United States Trustee
                                      USTPRegion02.BR.ECF@usdoj.gov

Phillip Andrew Raymond
                                      on behalf of Creditor Flagstar Bank Phillip.Raymond@McCalla.com mccallaecf@ecf.courtdrive.com

Rachel S. Blumenfeld
                                      on behalf of Defendant Levi Balkany rachel@blumenfeldbankruptcy.com

Zachary Kaye
                                      on behalf of Creditor Harlem 133 Owner LLC zachk87@gmail.com


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Information to identify the case:
Debtor 1
                       Levi Balkany                                                Social Security number or ITIN   xxx−xx−0321
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Eastern District of New York

Case number:          1−22−41041−nhl

Order of Discharge                                                                                                                12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Levi Balkany


             11/27/23                                                      By the court: Nancy Hershey Lord
                                                                                         United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                       For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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